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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  IN RE: ZANTAC (RANITIDINE)                                                         MDL NO 2924
  PRODUCTS LIABILITY                                                                  20-MD-2924
  LITIGATION
                                                           JUDGE ROBIN L ROSENBERG
                                                   MAGISTRATE JUDGE BRUCE REINHART

  __________________________________/

  THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
  Linda Neal, Individually and as the
  surviving spouse/personal representative
  of James Neal (DECEASED)

  __________________________________
  (Plaintiff Name(s))

                             SHORT-FORM COMPLAINT - VERSION 2

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Amended Master Personal Injury Complaint (“AMPIC”) in In re: Zantac (Ranitidine)

 Products Lability Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form

 Complaint - Version 2 as permitted by Pretrial Order No. 31 and as modified by the Court's

 Orders regarding motions to dismiss [DE 2532, 2512, 2513, 2515, and 2016].

         Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

         Plaintiff(s), by counsel, allege as follows:

                        I.      PARTIES, JURISDICTION, AND VENUE

     A. PLAINTIFF(S)

         1.                   LINDA NEAL
                 Plaintiff(s) _________________________________________________________
                 (“Plaintiff(s)”) brings this action (check the applicable designation):

                                On behalf of [himself/herself];

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                           ✘                                         surviving spouse
                                   In representative capacity as the __________________, on behalf
                                   of   the   injured   party,             (Injured      Party’s       Name)
                                   James Neal
                                   ___________________.

         2.      Injured     Party    is   currently   a   resident    and    citizen   of    (City,   State)
                 _________________________ and claims damages as set forth below.

                                                            —OR—
                                                     Apr     10   2021
                 Decedent died on (Month, Day, Year) ____________________. At the time of
                 Decedent’s death, Decedent was a resident and citizen of (City, State)
                 Medina              TN
                 _________________________.

  If any party claims loss of consortium,

         3.      Linda Neal
                 _________________ (“Consortium Plaintiff”) alleges damages for loss of
                 consortium.

         4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                                                       Medina              TN
                 citizen and resident of (City, State) _________________________.

         5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                 Medina                   TN
                 _________________________.



     B. DEFENDANT(S)


         6.      Plaintiff(s) name(s) the following Defendants from the Amended Master
                 Personal Injury Complaint in this action:

                    a. Brand-Name Manufacturers:
                           Pfizer Inc.; Boehringer Ingelheim USA Corporation; Sanofi S.A.; GlaxoSmithKline
                           LLC; GlaxoSmithKline (America) Inc.; Boehringer Ingelheim Pharmaceuticals, Inc.;
                           Sanofi-Aventis U.S. LLC; Boehringer Ingelheim International GmbH; Patheon
                           Manufacturing Service LLC; Boehringer Ingelheim Promeco, S.A. de C.V.; Boehringer
                           Ingelheim Corporation; Sanofi US Services Inc.; GlaxoSmithKline PLC




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                 b. Generic Manufacturers:
                      ANDA Repository LLC; Hi-Tech Pharmacal Co., Inc.; Sun Pharmaceutical Industries
                      Ltd.; Amneal Pharmaceuticals of New York, LLC; Torrent Pharma Inc.; Acic
                      Pharmaceuticals, Inc.; Zydus Pharmaceuticals (USA) Inc.; L. Perrigo Co.; Novitium
                      Pharma LLC; Teva Pharmaceticals U.S.A., Inc.; Taro Pharmaceuticals U.S.A., Inc.;
                      Strides Pharma, Inc.; Emcure Pharmaceuticals Limited; Mylan Pharmaceuticals, Inc.;
                      Glenmark Pharmaceuticals, Inc., USA; Ranbaxy Inc.; Appco Pharma LLC; VKT
                      Pharma Inc.; Hikma Pharmaceuticals USA, Inc. f/k/a/ West-Ward Pharmaceuticals
                      Corp.; Mylan, Inc.; Ani Pharmaceuticals Inc.; Unique Pharmaceutical Laboratories Ltd.;
                      Taro Pharmaceutical Industries, Ltd.; Auro Health LLC; AmeriSource Health Services
                      LLC d/b/a American Health Packaging; Perrigo Company; Heritage Pharma Labs Inc.;
                      Lannett Co., Inc.; Aurobindo Pharma USA, Inc.; Watson Laboratories, Inc.; Sandoz
                      Inc.; Ajanta Pharma USA Inc.; Heritage Pharmaceuticals, Inc.; PAI Holdings, LLC f/k/a
                      Pharmaceutical Associates, Inc.; Mylan Institutional LLC; Amneal Pharmaceuticals,
                      Inc.; Hikma Pharmaceuticals International Ltd. f/k/a West-Ward Pharmaceuticals
                 c.   Distributors    andGranules
                      International, Ltd.;  Repackager:
                                                     USA, Inc.; J.B. Chemicals and Pharmaceuticals Ltd.;
                      Actavis MidPharma
                      Aurobindo     Atlantic LLC;Inc.;
                                           USA,     Apotex
                                                       Mylan,Corporation;  Contract
                                                                Inc.; Wockhardt    USAPharmacal
                                                                                        LLC; Dr.Corp.;   Perrigo
                                                                                                   Reddy's
                      Research &amp;
                      Laboratories  Inc.;Development
                                          Apotex Inc.; Company;      Dr. Reddy's Laboratories
                                                        Geri-Care Pharmaceuticals               Inc.; Sun
                                                                                       Corp.; Strides Pharma, Inc.;
                      Pharmaceutical
                      Novitium Pharma  Industries, Inc. f/k/a
                                          LLC; Lannett    Co.,Ranbaxy    Pharmaceuticals
                                                               Inc.; Amneal               Inc.; of
                                                                              Pharmaceuticals   Teva
                                                                                                   New York, LLC;
                      Pharmaceutical   Industries, Ltd.; Par  Pharmaceutical   Inc.; Wockhardt
                      Golden State Medical Supply, Inc.; L. Perrigo Co.; Zydus Pharmaceuticals    USA LLC;
                                                                                                        (USA) Inc.;
                      Methapharm,
                      Strides PharmaInc.;  Amneal
                                      Global  Pte. Pharmaceuticals    LLC; Nostrum Laboratories
                                                    Ltd.; Glenmark Pharmaceuticals      Ltd.; Mylan Inc.
                      Pharmaceuticals, Inc.; Aurobindo Pharma, Ltd.; Perrigo Company, PLC; Strides Pharma
                      Science Ltd.; Wockhardt USA, Inc.; Apotex Corporation; Glenmark Pharmaceuticals,
                      Inc., USA; McKesson Corporation; Precision Dose Inc.; Amneal Pharmaceuticals, Inc.;
                      VKT Pharma Inc.; Perrigo Company; Cadila Healthcare Limited; Dr. Reddy's
                      Laboratories, Ltd.; Granules USA, Inc.; Ajanta Pharma USA Inc.; AmeriSource Health
                      Services LLC d/b/a American Health Packaging; Mylan Laboratories Ltd.; VKT Pharma
                      Private Ltd.; Ajanta Pharma Ltd.; Perrigo Research &amp; Development Company;
                      Cardinal Health, Inc.; Dr. Reddy's Laboratories SA; Granules India, Ltd.; Geri-Care
                      Pharmaceuticals Corp.; Nostrum Laboratories Inc.; Denton Pharma Inc. d/b/a
                d.    Retailers:
                      Northwind Pharmaceuticals; Amneal Pharmaceuticals LLC; Wockhardt, Ltd.; Auro
                      Health
                      WalgreenLLC;
                                Co.;Glenmark   Generics
                                      Sam's West,         Ltd.; MylanThe
                                                    Inc.; Wal-Mart;     Institutional
                                                                           Kroger Co. LLC




                e. Others Not Named in the AMPIC:
                       Walgreens Boots Alliance, Inc.; AmerisourceBergen Corporation; Walmart Inc. f/k/a
                       Wal-Mart Stores, Inc.; The Kroger Co.; Sam's West, Inc.




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     C. JURISDICTION AND VENUE


        7.      Identify the Federal District Court in which Plaintiff(s) would have filed this action
                in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
                Court to which their original action was removed]:

                ______________
                Western        District of _______
                                           TN



        8.      Jurisdiction is proper upon diversity of citizenship.


                                      II.     PRODUCT USE


        9.      The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                        ✘       By prescription

                        ✘       Over the counter

        10.     The Injured Party used Zantac and/or generic ranitidine from approximately
                              Jan   2009
                (month, year) _______________    Feb   2020
                                              to _______________.



                                   III.     PHYSICAL INJURY


        11.     As a result of the Injured Party’s use of the medications specified above, [he/she]
                was diagnosed with the following specific type of cancer (check all that apply):
    Check all                       Cancer Type                              Approximate Date of
      that                                                                       Diagnosis
     apply
       ✘        BLADDER CANCER

                BREAST CANCER

                COLORECTAL/INTESTINAL CANCER

                ESOPHAGEAL CANCER




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     Check all                        Cancer Type                              Approximate Date of
       that                                                                        Diagnosis
      apply
                  GASTRIC CANCER

                  KIDNEY CANCER

                  LIVER CANCER

                  LUNG CANCER

                  PANCREATIC CANCER

                  PROSTATE CANCER

                  OTHER CANCER:

         ✘        DEATH (CAUSED BY CANCER)


          12.       Defendants, by their actions or inactions, proximately caused the injuries to
                    Plaintiff(s)

                               IV.     CAUSES OF ACTION ASSERTED

          13.     The following Causes of Action asserted in the Amended Master Personal Injury
                  Complaint are asserted against the specified defendants in each class of
                  Defendants enumerated therein, and the allegations with regard thereto are adopted
                  in this Short Form Complaint by reference.

          14.     By checking the appropriate causes of action below, Plaintiff(s) assert these causes
                  of action based upon the law and applicable Sub-Counts of the following state(s):1



       Check      Count                       Cause of Action                        States for which
       all that                                                                      the cause of action
       apply                                                                         was asserted in
                                                                                     the AMPIC
         ✘           I     Strict Products Liability – Failure to Warn through       All States and
                           Warnings and Precautions (Against Brand-Name              Territories, Except
                           Manufacturer Defendants)                                  DE, IA, MA, NC,
                                                                                     PA, and VA
 1
   In selecting the relevant states above, Plaintiffs reserve all rights to argue choice of law issues at
 a later time.
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      Check      Count                   Cause of Action                     States for which
      all that                                                               the cause of action
      apply                                                                  was asserted in
                                                                             the AMPIC
        ✘         II     Negligence – Failure to Warn through Warnings       All States and
                         and Precautions (Against Brand-Name                 Territories, Except
                         Manufacturer Defendants)                            LA, NJ, OH, and
                                                                             WA
        ✘         III    Strict Products Liability – Failure to Warn through All States and
                         Proper Expiration Dates (Against Brand-Name and Territories, Except
                         Generic Manufacturer Defendants)                    DE, IA, MA, NC,
                                                                             PA, and VA
        ✘         IV     Negligence – Failure to Warn through Proper         All States and
                         Expiration Dates (Against Brand-Name and            Territories, Except
                         Generic Manufacturer Defendants)                    LA, NJ, OH, OK,
                                                                             and WA
                  V      Negligence - Failure to Warn Consumers through      CA, DE, DC, HI,
                         the FDA (Against Brand-Name and Generic             IN, KY, LA, MD,
                         Manufacturer Defendants)                            MA, MN, MO,
                                                                             NV, NY, OR, and
                                                                             PA
        ✘         VI     Strict Products Liability – Design Defect Due to    All States and
                         Warnings and Precautions (Against Brand-Name        Territories, Except
                         Manufacturer Defendants)                            DE, IA, MA, NC,
                                                                             PA, and VA
        ✘         VII    Strict Products Liability – Design Defect Due to    All States and
                         Improper Expiration Dates (Against Brand-Name       Territories, Except
                         and Generic Manufacturer Defendants)                DE, IA, MA, NC,
                                                                             PA, and VA
                 VIII    Negligent Failure to Test (Against Brand-Name       KS, TX
                         and Generic Manufacturer Defendants)
        ✘         IX     Negligent Product Containers: (Against Brand-       All States and
                         Name and Generic Manufacturers of pills)            Territories
        ✘         X      Negligent Storage and Transportation Outside the    All States and
                         Labeled Range (Against All Retailer and             Territories
                         Distributor Defendants)
        ✘         XI     Negligent Storage and Transportation Outside the    All States and
                         Labeled Range (Against All Brand-Name and           Territories
                         Generic Manufacturer Defendants)
                  XII    Negligent Misrepresentation (Against Brand-Name CA only
                         Manufacturers by Generic Consumers in
                         California)
                 XIII    Reckless Misrepresentation (Against Brand-Name MA only
                         Manufacturers by Generic Consumers in
                         Massachusetts)




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              Check       Count                           Cause of Action                            States for which
              all that                                                                               the cause of action
              apply                                                                                  was asserted in
                                                                                                     the AMPIC
                 ✘         XIV       Unjust Enrichment (Against All Defendants)                       All States and
                                                                                                      Territories
                 ✘         XV        Loss of Consortium (Against All Defendants)                      All States and
                                                                                                      Territories
                 ✘         XVI       Wrongful Death (Against All Defendants)                          All States and
                                                                                                      Territories
                                     Other




                         If Count XV or Count XVI is alleged, additional facts supporting the claim(s):
XV. Linda Neal brings this action for loss of consortium of her deceased husband, James Neal - who died from bladder cancer after
having taken Zantack (Ranitidine) for over 10 years. Prior to his death from bladder cancer on April 10, 2021, James Neal regularly
provided his wife with care, companionship services and other compensible consortium services.

XVI. James Neal, deceased, died on April 10, 2021 from bladder cancer after having taken Zantac and/or Ranitidine for over 10 years.




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                                               V.     JURY DEMAND


             14.    Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.



                                         VI.        PRAYER FOR RELIEF

             WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

      inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

      action, jointly and severally to the full extent available in law or equity, as requested in the

      Amended Master Personal Injury Complaint.

Attorney 1 Signature:__________________________
                     Michael L. Weinman                      Attorney 1 Signature:__________________________
Attorney 1 Print:______________________________
                 Michael L. Weinman                          Attorney 1 Print:______________________________
Attorney 2 Signature:__________________________              Attorney 2 Signature:__________________________
Attorney 2 Print:______________________________              Attorney 2 Print:______________________________
Firm: ______________________________________
      Weinman & Associates                                   Firm: ______________________________________
Address 1: __________________________________
           101 N. Highland Ave                               Address 1: __________________________________
Address 2: __________________________________
           P.O. Box 266                                      Address 2: __________________________________
City: ____________________________
       Jackson                                               City: ____________________________
State: ___________________________
        Tennessee                                            State: ___________________________
Zip: _____________
     38302                                                   Zip: _____________
Email: _____________________________________
       mike@weinmanthomas.com                                Email: _____________________________________
Phone: ______________________
       7314235565                                            Phone: ______________________




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